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16                        UNITED STATES DISTRICT COURT
17                FOR THE CENTRAL DISTRICT OF CALIFORNIA
18                                           )
     JENNY LISETTE FLORES; et al.,           )   Case No. CV 85-4544-DMG
19
                                             )
20       Plaintiffs,                         )   DEFENDANTS’ NOTICE
                                                 REGARDING COURT’S
21         v.                                )   SEPTEMBER 27, 2019 ORDER
                                             )   [DKT. NO. 688]
22   WILLIAM P. BARR, Attorney               )
     General of the United States; et al.,
23                                           )   Judge: Hon. Dolly M. Gee
                                             )
24       Defendants.
                                             )
25                                           )
26                                           )
                                             )
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 1         On September 27, 2019, the Court issued an order denying Defendants’
 2   Motion to Terminate the Flores Settlement Agreement, and granting Plaintiffs’
 3   motion to enforce “insofar as it seeks an Order declaring that Defendants have failed
 4   to terminate the Flores Agreement and enjoining Defendants from implementing
 5   New Regulations.” ECF Dkt. No. 688 at 24. The Order provided that “[t]o the extent
 6   Defendants wish to identify those portions of the New Regulations that they want to
 7   preserve that are not covered by the Court’s Orders or the Flores Agreement, they
 8   must meet and confer with Plaintiffs and notify the Court by no later than October
 9   4, 2019, if the parties agree to carve out any such provisions from the scope of this
10   Order and the Permanent Injunction.” Id. at 24, n.17.
11         After further review of the Court’s Order and Permanent Injunction and
12   consultation with the affected agencies, Defendants have conferred with Plaintiffs’
13   counsel and now advise the Court that Defendants do not intend to seek partial
14   implementation of the rule under footnote 17 at this time.
15   Dated: October 4, 2019          Respectfully submitted,

16                                   JOSEPH H. HUNT
17                                   Assistant Attorney General
                                     Civil Division
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19                                   /s/ August E. Flentje
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 1                            CERTIFICATE OF SERVICE
 2         I hereby certify that on October 4, 2019, I served the foregoing pleading on
 3   all counsel of record by means of the District Clerk’s CM/ECF electronic filing
 4   system.
 5
 6
                                                 /s/ August E. Flentje
 7                                               AUGUST E. FLENTJE
 8                                               U.S. Department of Justice
 9                                               Civil Division
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                                                 Attorney for Defendants
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